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STATE OF COLORADO, ss:

1, Christopher T. Ryan Clerk of the Supreme Court of the State of

Colorado, do hereby certify that

PAUL GRANT

has been duly licensed and admitted to practice as an

~ ATTORNEY AND (OUNSELOR AT LAW

within this State; and that his/her name appears upon the Roll of Attorneys

and Counselors at Law in my office of date the 23rd
day of ___ October A.D.__1995_ and that at the date hereof
the said PAUL GRANT

is in good standing at this Bar.

IN WITNESS WHEREOF, I have hereunto subscribed my name and
affixed the Seal of said Supreme Court, at Denver, in said State, this

19th day of. June A. D.2017

Ryan ——_—_____—

nun) A Lew

Deputy Clerk

